  Case 18-26675         Doc 71   Filed 09/07/22 Entered 09/07/22 15:55:12           Desc Main
                                  Document     Page 1 of 15



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

IN RE:                                       )
                                             )      CASE NO. 18-26675
         Daniel Vega                         )      HON. Carol A Doyle
                                             )      CHAPTER 13
         DEBTOR.                             )

                                    NOTICE OF MOTION
NOTICE OF MOTION TO: Thomas H. Hooper, 55 E. Monroe Street, Suite 3850, Chicago, IL
60603, via electronic court notification.

Patrick Semrad, The Semrad Law Firm, LLC, 20 S. Clark St, 28th Floor, Chicago, IL 60603.

Daniel Vega, 4558 W 77th Pl, Chicago, IL 60652.

See the attached Service List.
       Please take notice that on September 20, 2022, at 9:30 a.m., I will appear before the
Honorable Carol A. Doyle, or any judge sitting in that judge’s place, and present the motion for
sanctions, a copy of which is attached.

       This motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the
motion, you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

      To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
8287666. Then enter the meeting ID and password.

       Meeting ID and password. The meeting ID for this hearing is 161 155 8289 and the
password is Doyle742. The meeting ID and password can also be found on the judge’s page on
the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.
  Case 18-26675      Doc 71    Filed 09/07/22 Entered 09/07/22 15:55:12         Desc Main
                                Document     Page 2 of 15


                                CERTIFICATE OF SERVICE

        The undersigned, an attorney, certifies that he served a copy of this notice and the
attached motion, on each entity shown above at the address shown and by the method indicated
on the list on September 7, 2022, via U.S. Mail from the mailbox located at 10258 S Western
Avenue, Suite 210A, Chicago IL 60643.




                                                     /s/ Steve Miljus
                                                    Feldman Garcia Leshinsky & Miljus, LLC
                                                    10258 S Western Avenue, Suite 210A
                                                    Chicago IL 60643
                                                    (312) 248-2781
                                                    smiljus@fglmlawgroup.com
  Case 18-26675         Doc 71    Filed 09/07/22 Entered 09/07/22 15:55:12           Desc Main
                                   Document     Page 3 of 15


                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
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IN RE:                                        )
                                              )       CASE NO. 18-26675
         Daniel Vega                          )       HON. Carol A Doyle
                                              )       CHAPTER 13
         DEBTOR.                              )

                                  MOTION FOR SANCTIONS

         Now comes Daniel Vega (Mr. Vega), by and through his attorneys, Feldman Garcia

Leshinsky & Miljus, LLC (FGLM), and moves this Court for entry of an Order awarding

appropriate sanctions, pursuant to 11 U.S.C. § 105, Federal Rules of Bankruptcy Procedure

(FRBP) 9011, against Patrick Semrad and The Semrad Law Firm, LLC (Semrad Firm), and in

support of this Motion, states as follows:

                                  FACTUAL BACKGROUND

         On June 10, 2022, Patrick Semrad and the Semrad Firm began filing orders to withdraw

Steve Miljus (Mr. Miljus) and Rigoberto Garcia (Mr. Garcia) as counsel an estimated 2,750

times in thousands of bankruptcy cases, including the instant case. The orders were fraudulently

titled as “agreed” orders and bore the unauthorized signatures of Mr. Garcia and Mr. Miljus,

giving the appearance of motions and orders that had been filed in cooperation with Mr. Garcia

and Mr. Miljus. In fact, the orders were never agreed to by Mr. Garcia or Mr. Miljus and the

orders contained their signatures without their consent.

         The events leading up to the filing of the orders in question began on May 17, 2022,

when Mr. Garcia and Mr. Miljus advised Patrick Semrad of their intent to resign from their

positions at the Semrad Firm and form their own law firm, FGLM. After their departure, they

requested a client list from Patrick Semrad and attempted to work with him to send a joint letter

notifying clients that they had left the Semrad Firm. Patrick Semrad provided a client list for Mr.

                                                  1
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12            Desc Main
                                  Document     Page 4 of 15

Miljus but refused to provide a client list for Mr. Garcia and would not agree to sending a joint

letter to clients. FGLM used the client list provided by Patrick Semrad and mailed a unilateral

letter to Mr. Miljus’s clients, including Mr. Vega.

       On May 27, 2022, a series of emails were sent between FGLM’s attorneys and Patrick

Semrad regarding the withdrawal from existing cases and providing notice to clients. After

Patrick Semrad refused to provide Mr. Garcia his client list, Mr. Garcia requested that the

Semrad Firm withdraw him from any cases he may have handled while he was an associate at

the Semrad Firm (See attached Exhibit A, Mr. Garcia's email to Patrick Semrad). Mr. Miljus

responded to the email chain and cited several reasons why Mr. Garcia’s clients were entitled to

notice of his departure from the Semrad Firm (see attached Exhibit B, Mr. Miljus’s email to

Patrick Semrad). Patrick Semrad rejected Mr. Miljus’s position and responded, “I disagree”.

       On June 1, 2022, Mr. Garcia emailed Patrick Semrad to advise him that he agreed with

Mr. Miljus’s position (see attached Exhibit C, Mr. Garcia's final email to Patrick Semrad). There

was no relevant further correspondence between Patrick Semrad and Messrs Garcia and Miljus.

       On June 7, 2022, Mr. Miljus filed the first motion to substitute in this case (see Docket

number 60). After the motion was filed, Mr. Miljus called and emailed Aaron Weinberg (Mr.

Weinberg), an associate at the Semrad Firm, to advise him that Mr. Vega had retained FGLM,

and a relevant motion was set for June 14, 2022. After the motion was filed, but before it was

heard, Patrick Semrad and the Semrad Firm filed “Agreed Substitution of Attorney” orders to

remove Mr. Garcia on June 10, 2022 (see attached Exhibit D, Agreed order Docket 61). A

nearly identical order was filed to remove Mr. Miljus on June 13, 2022 (see attached Exhibit E,

Agreed order Docket 62). The orders were never reviewed or agreed to by any attorney at

FGLM and the orders contained the electronic signatures of both Mr. Miljus and Mr. Garcia

without their consent. The filing of these agreed orders was not limited to this case. To FGLM’s


                                                 2
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document     Page 5 of 15

knowledge, a similar order was filed an estimated 2,750 times by Patrick Semrad and the Semrad

Firm.

        On June 14, 2022, during the hearing for FGLM’s Motion to Substitute in this case, the

Court, confused by the conflicting motion and orders, brought the orders to the attention of Mr.

Miljus and Mr. Weinberg. Mr. Miljus, unaware of the orders, reviewed the docket during the

hearing and advised the court that he did not agree to the order, nor did he authorize the use of

his signature on the order. The Court advised Mr. Weinberg that the orders were “troubling” and

that they should be corrected as soon as possible.

        After the hearing, Mr. Miljus met with Patrick Semrad, Michael Miller (Mr. Miller), an

associate attorney at the Semrad Firm, and Mr. Weinberg. During their meeting, Patrick Semrad

acknowledged that he filed the orders without the consent of Mr. Miljus or Mr. Garcia. Mr.

Miljus advised the Semrad Firm attorneys that he wanted the orders withdrawn as they were

inappropriate for two reasons: 1. He did not agree to the orders, nor did he authorize the Semrad

Firm to use his signature; and 2. The agreed orders did not comply with local rules to withdraw

as counsel.

        The following week, on June 21, 2022, this Court heard a series of Motions to Substitute

filed by FGLM, and Patrick Semrad appeared on behalf of the Semrad Firm. During the

hearings, the Court brought the orders to Patrick Semrad’s attention, but he did not offer an

explanation for them. Instead, he acknowledged that the orders were signed and entered without

the consent of Mr. Miljus or Mr. Garcia and advised the Court he would work with them to

resolve the matter.

        After the hearing on the 21st of June, FGLM unsuccessfully attempted to compel Patrick

Semrad and the Semrad Law Firm to withdraw the orders. As a result of these difficulties,

FGLM hired David Leibowitz (Mr. Leibowitz) to resolve the matter on its behalf. On July 5,


                                                 3
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document     Page 6 of 15

2022, Mr. Leibowitz emailed a demand letter to Patrick Semrad and the Semrad Firm (see

attached Exhibit F, Demand Letter). The Demand letter explicitly addressed the orders at issue

and stated the following: “To the extent not already done so, the Semrad Firm should withdraw

all papers that have been filed containing purported electronic signatures of departing FGLM

attorneys from Documents similar to those mentioned above.” Over the next several weeks,

despite Mr. Leibowitz’s best efforts, Semrad refused to withdraw the fraudulent agreed orders.

       On July 19, 2022, during the series of hearings for FGLM’s Motion to Substitute, the

issue of the orders was yet again brought to the attention of the Court after the Patrick Semrad

and the Semrad Firm inexplicably filed a Motion to Substitute and remove Mr. Miljus from this

case without the consent of the client. Patrick Semrad withdrew the motion and this Court yet

again warned Patrick Semrad that his firm’s conduct during the series of hearings had been less

than appropriate.

       On July 21, 2022, Mr. Miljus emailed Semrad’s counsel, Jeffery Becker (Mr. Becker) and

advised him that FGLM would be handling the matter moving forward, and reiterated the need to

notify clients and withdraw the orders at issue. Over the next several weeks, Mr. Miljus spent

hours emailing and calling Mr. Becker in an attempt to compel Patrick Semrad and the Semrad

Firm to mail notice to clients and withdraw the false orders they filed. Patrick Semrad and the

Semrad Firm did not comply with any of the requests.

       On August 25, 2021, Mr. Miljus emailed Mr. Becker to make one last attempt to resolve

the matter and stated the following: “Regarding the letters, they can get the list together and we

can send them off jointly as we agreed by September 1st. If they can’t get that done by the 1st of

September, we will compile our own list and mail a unilateral letter to the clients who have not

received them yet and resolve the thousands of orders they forged and entered with the court”

(see attached Exhibit G, Mr. Miljus’s email to Mr. Becker).


                                                 4
  Case 18-26675        Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12              Desc Main
                                   Document     Page 7 of 15

       At the time of this filing, despite repeated requests made by FGLM, Mr. Leibowitz and

this Court, Patrick Semrad and the Semrad Firm have not moved to withdraw the fraudulent

orders they filed an estimated 2,750 times, including the two filed in the instant case.

                                          JURISDICTION

       This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding under 28 U.S.C. § 157(b)(2).

                                           ARGUMENT

   1. Patrick Semrad and The Semrad Law Firm violated Rule 9011(b) when they affixed
      the signature of Mr. Garcia and Mr. Miljus without their consent to thousands of
      orders that were falsely titled as “agreed orders” and filed them with this court.

       Under Rule 9011(b), an attorney who presents to the bankruptcy court any “petition,

pleading, written motion, or other paper” makes four certifications to the court. Three are

certifications that the paper is not presented for an improper purpose, the legal contentions have a

basis in the law, and the denials of facts are warranted by the evidence. Fed. R. Bankr.P.

9011(b)(1)-(2), (4). The fourth, applicable in this case, is a certification that “the allegations and

other factual contentions have evidentiary support or, if specifically so identified, are likely to

have evidentiary support after a reasonable opportunity for further investigation or discovery.”

Fed. R. Bankr.P. 9011(b)(3).

       The certification in Rule 9011(b)(3) prohibits not only assertions of fact without

sufficient support but also outright misstatements of fact. In re Brent, 458 B.R. 444, 457

(Bankr. N.D. Ill. 2011) (“Misrepresentations of the facts may obviously result in sanctions.”);

see, e.g., Brandt v. Schal Assocs., Inc., 960 F.2d 640, 651 (7th Cir.1992).

       To be sanctionable, a misstatement or omission must be more than an innocent mistake;

in making the misstatement or omission, the attorney must have been “culpably careless.” Young

v. City of Providence ex rel. Napolitano, 404 F.3d 33, 39 (1st Cir.2005). To avoid sanctions,


                                                   5
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document     Page 8 of 15

then, the attorney's conduct must have been the conduct of a hypothetical reasonable attorney.

U.S. Bank Nat'l Ass'n v. Sullivan–Moore, 406 F.3d 465, 470 (7th Cir.2005). An attorney's good

faith belief that his statements were true is insufficient. Senese v. Chicago Area I.B. of T. Pension

Fund, 237 F.3d 819, 824 (7th Cir.2001).

       In this case, both requirements to sanction pursuant to Rule 9011, false statements and

culpable carelessness, have been met.

       a. False Statements

       The first requirement is satisfied as Patrick Semrad and The Semrad Firm made a false

statement of fact to this Court when they filed an order to withdraw Mr. Garcia from this case on

June 10, 2022, and Mr. Miljus on June 13, 2022. Prior to the filing of the agreed orders, there

was communication between FGLM and Patrick Semrad regarding substitutions (see attached

Exhibits A, B, C). While it is true, Mr. Garcia initially advised Patrick Semrad that he wanted to

be withdrawn from cases with which he was associated while working at the Semrad Firm, he

clearly and unambiguously retracted that request in an email on June 1, 2022, before the orders

were filed. Neither Patrick Semrad or any other attorney at the Semrad Firm attempted to clarify

Mr. Garcia’s position, nor did they give him an opportunity to review the “agreed” order before

it was filed, and they certainly did not have the authority to sign his name without his consent.

Assuming, arguendo, that Patrick Semrad and the Semrad Firm mistakenly believed that Mr.

Garcia agreed to the order, Mr. Miljus clearly did not agree to the orders nor authorized the use

of his signature.

       In this case, Patrick Semrad and the Semrad Firm filed the orders in question after Mr.

Miljus filed his motion to substitute. The motion was noticed properly, and Mr. Miljus even

provided additional courtesy notice by emailing and contacting Mr. Weinberg by telephone on




                                                 6
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document     Page 9 of 15

June 7, 2022. After receiving three separate notices in this case, Patrick Semrad and the Semrad

Firm filed two false agreed orders on June 10, 2022 and June 13, 2022.

       Moreover, Patrick Semrad has appeared in Court on several different occasions and has

never once suggested that Mr. Miljus or Mr. Garcia ever authorized the use of their signatures or

agreed to the orders that were entered in this Court. Rather, he has offered apologies to the Court

and has stated that he will correct the issue but has not denied that the orders were fraudulent.

       Based on the prior communication Patrick Semrad had with FGLM’s attorneys and his

statements made in Court on two separate hearings, it is clear that these orders were

misrepresentations of fact. There is absolutely no reason for Patrick Semrad or the Semrad Law

Firm to believe that Mr. Miljus and Mr. Garcia agreed to the orders filed in this case nor any of

the other 2,748 cases where the order was filed. As such, false statements, the first requirement

to sanction pursuant to Rule 9011(b)(3) has been satisfied.

       b. Culpable Carelessness

       The second requirement for sanctions under Rule 9011(b)(3), culpable carelessness, has

clearly been satisfied as well. No reasonable attorney could have understood the email sent by

Mr. Miljus and Mr. Garcia as agreeing to the entry of the orders in question, and certainly no

reasonable attorney would ever sign opposing counsel’s name to an order without their express

authority.

       In fact, the timing of these agreed orders suggests that this was more than an innocent

mistake made by Patrick Semrad and the Semrad Law Firm. The orders were not immediately

filed after Mr. Miljus and Mr. Garcia departed from the Semrad Firm. Rather, they were filed

only after Mr. Miljus advised Patrick Semrad that Mr. Garcia’s clients were entitled to notice a

choice to retain his services at FGLM, in part, because he was the attorney of record.




                                                 7
  Case 18-26675        Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document      Page 10 of 15

        Whether Patrick Semrad and the Semrad Firm intentionally filed these orders to prevent

Mr. Garcia from giving his clients notice and an opportunity to retain his services at FGLM may

be of critical importance with respect to the appropriateness of sanctions, but it is not relevant to

the question of whether the second requirement of culpable carelessness has been satisfied. To

be sanctionable, the conduct must simply fall short of a reasonable attorney, and the facts at hand

easily satisfy that standard.

    2. FGLM substantially complied with the safe harbor provision of Rule 9011, and this
       Court has the inherent power to sanction pursuant to 105(a).

        Before a movant can file a 9011 motion it must follow a two-step procedural safeguard

process. First, the movant must serve a copy of the proposed motion on the offending party.

Second, the offending party then has 21 days to withdraw or correct the offending pleading. If

the offending party does not, then the moving party can file the 9011 motion. Matrix IV, Inc. v.

Am. Nat. Bank and Trust Co. of Chi., 649 F.3d 539, 552 (7th Cir. 2011). The Seventh Circuit

allows a movant to substantially comply with the safe harbor rule without sending a copy of the

proposed motion by instead sending an equivalent notice such as a warning letter notifying the

offending party of the intention to seek 9011 sanctions. See Nisenbaum v. Milwaukee County,

333 F.3d 804, 808 (7th Cir. 2003) (finding that defendants' "letter" rather than "motion"

constituted substantial compliance with Rule 11(c)(1)(A) because defendants alerted plaintiff to

the problem and provided more than 21 days to rectify)

        In this case, Mr. Leibowitz, on FGLM’s behalf sent Patrick Semrad and the Semrad Firm

a demand letter on July 5, 2022. The letter explicitly requested that the Semrad Firm “withdraw

all papers that have been filed containing purported electronic signatures of departing FGLM

attorneys from Documents similar to those mentioned above.” FGLM alerted Patrick Semrad

and the Semrad firm to the problems and provided 21 days to rectify the issues. It has been 64

days since the letter was sent and Patrick Semrad and the Semrad Firm have done nothing to

                                                  8
  Case 18-26675         Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12            Desc Main
                                   Document      Page 11 of 15

correct their misconduct. As such, FGLM has substantially complied with the Rule 9011’s safe

harbor provision.

          Moreover, the Seventh Circuit has repeatedly held that the Court has the inherent power

to issue sanctions and award attorneys’ fees for litigation misconduct, independently of Rule 11,

particularly if the expedited nature of proceedings made Rule 11 unavailable. In Methode

Electronics, Inc. v. Adam Technologies, Inc., 371 F.3d 923, 927 (7th Cir. 2004), the Court

stated:

          Rule 11 has not robbed the district courts of their inherent power to impose sanctions for
          abuse of the judicial system. In Chambers v. NASCO, Inc., 501 U.S. 32, 49, 111 S.Ct.
          2123, 115 L.Ed.2d 27 (1991), the Court was quite clear that “the inherent power of a
          court can be invoked even if procedural rules exist which sanction the same conduct.”
          The Court stated that there was “no basis for holding that the sanctioning scheme of the
          statute and the rules displaces the inherent power to impose sanction for ... bad-faith
          conduct ....” At 46, 111 S.Ct. 2123.

          See also, Mach v. Will County Sheriff, 580 F.3d 495, 502 (7th Cir. 2009) (affirming

sanctions without compliance with Rule 11 procedures).

          “A court may employ its inherent powers when a rule or statute also applies, particularly

when the litigant’s ‘entire course of conduct throughout the lawsuit evidenced bad faith and an

attempt to perpetrate a fraud on the court’ and the conduct was beyond the reach of the rules.”

Goodvine v. Carr, 761 Fed. Appx. 598, 601-02 (7th Cir. 2019) (affirming sanction of dismissal

based on false affidavit). The issue in this case is not a mere baseless filing. Like Goodvine v.

Carr where Goodvine filed a false document with the court, Patrick Semrad and the Semrad

Firm filed a false order, and affixed the signatures of Mr. Garcia and Miljus without their

consent. They have been repeatedly advised by this Court to rectify the issue they created.

Despite several warnings and an abundant amount of time, they have yet to withdraw the

erroneous orders. FGLM contends that they have complied with the safe harbor provision of

Rule 9011. However, the false orders filed by Patrick Semrad and the Semrad Firm are also


                                                   9
  Case 18-26675         Doc 71   Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                 Document      Page 12 of 15

sanctionable under the Court’s inherent authority (see In re Rimsat, Ltd., 212 F.3d 1039, 1049

(7th Cir. 2000). Sanctions are justified under § 105(a) where the sanctioning court has clearly

found that a litigant "intentionally abused the judicial process in an unreasonable and vexatious

manner." Id. at 1047.

   3. Sanctions are appropriate due to the seriousness of the misrepresentations made by
      Patrick Semrad and the Semrad Firm, their pattern of misconduct and to deter
      future misconduct.

       FRBP 9011(c) says, [i]f, after notice and a reasonable opportunity to respond, the

court determines that subdivision (b) has been violated, the court may impose an appropriate

sanction upon the attorneys, law firms, or parties that have violated subdivision (b) or are

responsible for the violation. Sanctions for violations of Rule 9011 may be both monetary and

non-monetary but must “be limited to what is sufficient to deter repetition of [the attorney's]

conduct or comparable conduct by others similarly situated.” Sullivan–Moore, 406 F.3d at 471.

A court enjoys broad discretion in determining the appropriate sanction. Id. In arriving at a

sanction, the court should “reflect upon equitable considerations.” Brown v. Federation of State

Med. Bds., 830 F.2d 1429, 1439 (7th Cir.1987). These include, but are not limited to, whether the

misconduct was part of a pattern, whether the attorney has engaged in similar conduct in other

litigation, what effect the misconduct had on the litigation process, whether the attorney is

experienced in the area of law, and whether the conduct was willful or negligent.

       Patrick Semrad and The Semrad Law Firm’s misconduct was quite serious, far worse

than a mere baseless motion that could have been withdrawn without consequence. Once

uploaded to the docket, the orders immediately restricted FGLM’s access to the trustee's online

portal. The online portal provides vital and privileged case information, such as case payment

history, and the balance that the trustee is holding on hand. FGLM depended on this restricted

information to properly administer cases for clients who had retained FGLM and terminated the


                                                 10
  Case 18-26675       Doc 71      Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document      Page 13 of 15

Semrad Firm. Being improperly locked out as a result of the orders also frustrated FGLM’s

ability to properly advise clients who were uncertain as to whether they wanted to retain FGLM

or remain with Semrad. FGLM apprised the Chapter 13 Trustee, Thomas Hooper, of the

situation and his office did their best to mitigate the issue created by Semrad, but it was a

struggle to obtain necessary information in a timely manner. The net result of Patrick Semrad

and the Semrad Firm’s misconduct was an increased burden on the trustee, FGLM and their

ability to advise clients who were retained by FGLM. Patrick Semrad and the Semrad Firm

cannot simply unring the bell.

       Worse yet, this Court has repeatedly advised Patrick Semrad and the other attorneys at

the Semrad Firm to remove the order and correct the docket. The Court advised Patrick Semrad

and the Semrad Firm to withdraw the orders and correct the docket on June 14, 2022 and June

21, 2022. On July 19, 2022, it was brought to this Court’s attention that Patrick Semrad and the

Semrad Firm had yet to withdraw the orders. The Court, in disbelief, described Patrick Semrad’s

conduct as “outrageous” and yet again advised him to withdraw the orders.

       Patrick Semrad and the Semrad Firm have had 50 days to withdraw these orders since

their conduct was aptly described as “outrageous” on July 19 th but they have not withdrawn a

single one. The Court is permitted to take the parties’ litigation history into account in

determining whether sanctions are appropriate. In re Salem, 2017 WL 11607219, at 10 (“The

Seventh Circuit has repeatedly recognized that a court is ‘permitted to consider [a party’s] past

conduct in fashioning Rule 11 sanctions, as the decision to impose such sanctions and their form

may be influenced by consideration of a party’s past misconduct,’” citing Vollmer v. Publishers

Clearing House, 248 F.3d 698, 710 (7th Cir. 2001).

       Rather than heeding the Court’s request to immediately withdraw the orders in question,

they instead filed appearances in thousands of the same cases, including this case (see Docket 64


                                                 11
  Case 18-26675       Doc 71      Filed 09/07/22 Entered 09/07/22 15:55:12             Desc Main
                                  Document      Page 14 of 15

and 65) and then they inexplicably filed Motions to Substitute, without the client’s consent, to

remove FGLM as counsel in cases where FGLM was retained (see Docket 66). Additionally,

they failed to timely comply with this Court’s orders to pay FGLM. They have repeatedly forced

this Court to waste its time in addressing their shortcomings.

       The orders at issue are not without consequence to FGLM as it violates local rules. Rule

2091-1 provides, “An attorney of record may not withdraw, nor may other attorneys appear on

behalf of the same party or as a substitute for the attorney of record, without first obtaining leave

of court by motion, except that substitutions or additions may be made without motion where

both counsel are of the same firm.” These orders were entered after Mr. Garcia and Mr. Miljus

left the Semrad Law firm. Consequently, an agreed order was insufficient to withdraw from the

case. If left uncorrected, the order suggests that Mr. Miljus and Mr. Garcia have improperly

agreed to being withdrawn from thousands of cases without first obtaining leave of the court by

motion. This unnecessarily creates a liability for FGLM, and Mr. Miljus has repeatedly advised

Patrick Semrad that the orders must be withdrawn to both correct the record and eliminate the

liability they created by filing this order. His requests have been ignored.

       FGLM has been patient with Patrick Semrad and the Semrad Firm in their attempt to

resolve these issues. FGLM was forced to incur attorney’s fees to resolve the matter, they have

spent time and resources attempting to correct the issue and have needlessly wasted time

overcoming the obstacles that Semrad has placed in the way of them attempting to represent the

clients who had retained their services.

       As such, FGLM seeks a sanction that would act as a deterrent to future misconduct:

ordering Patrick Semrad and the Semrad Firm to withdraw the erroneous orders, and to

compensate FGLM for the injury their misconduct has caused. FGLM requests reimbursement of

their fees and expenses incurred including: (a) reimbursement of the attorney’s fees paid to Mr.


                                                 12
  Case 18-26675       Doc 71     Filed 09/07/22 Entered 09/07/22 15:55:12              Desc Main
                                 Document      Page 15 of 15

Leibowitz, (b) fees and expenses related to objecting to the frivolous Motion to substitute filed in

this case and several other cases, (c) fees and costs associated with preparing for and attending

the hearings associated to the frivolous Motion to Substitute filed in this case and other cases, (d)

fees and costs associated with time Mr. Miljus has spent attempting to resolve the matter with

Semrad’s counsel, Mr. Becker (e) fees and expenses incurred in connection with this Motion.

FGLM can provide an affidavit of fees and detailed time entries once the Court orders that

sanctions are appropriate. Additionally, FGLM seeks punitive damages of (a) four times the

amount of compensatory damages as a result of Patrick Semrad and the Semrad Firm’s

misconduct, including but not limited to, signing the names of Mr. Miljus and Mr. Garcia

without their consent, and (b) punitive damages of $1,000 per day, from the date this Motion is

filed until the date all orders at issue have been properly withdrawn by Patrick Semrad and the

Semrad Firm, and for any other relief this Court deems fair and proper.

       FGLM requests that sanctions be imposed jointly and severally against Patrick Semrad

and The Semrad Law Firm, LLC.



                                                      Respectfully submitted,

                                                         /s/ Steve Miljus
                                                         Feldman Garcia Leshinsky & Miljus, LLC
                                                         10258 S Western Avenue
                                                         Suite 210A
                                                         Chicago IL 60643
                                                         (312) 248-3382




                                                 13
